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 4   Telephone: (916) 554-2797
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 7
 8               IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )
                                       )       CR. S 2:11-0226 LKK
12             Plaintiff,              )
                                       )       STIPULATION AND
13                                     )       ORDER CONTINUING
                                       )       STATUS CONFERENCE AND EXCLUDING
14                                     )       TIME
          v.                           )
15                                     )
     PATRICIA JANE ALBRIGHT, and       )
16   JORDAN ROBERT WIRTZ,              )
                                       )
17                                     )
               Defendants.             )
18                                     )
19
          The United States of America, through its counsels of
20
     record, Benjamin B. Wagner, United States Attorney for the
21
     Eastern District of California, and Michael M. Beckwith,
22
     Assistant United States Attorney, and defendants, Patricia Jane
23
     Albright, through her attorney of record, Zenia Gilg, and Jordan
24
     Robert Wirtz, through his attorney of record Carrie Kostiner,
25
     hereby stipulate and agree that the status conference set for
26
     June 28, 2011, be continued to July 26, 2011, at 9:15 a.m.
27
          The parties submit that the ends of justice are served by
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 1 the Court excluding time, so that counsel for each defendant may
 2 have reasonable time necessary for effective preparation, taking
 3 into account the exercise of due diligence.          18 U.S.C. §
 4 3161(h)(7)(B)(iv); Local Code T4.         Therefore, the parties have
 5 agreed and respectfully request that the Court set the date of
 6 July 26, 2011, at 9:15 a.m., for the status conference.
 7        Accordingly, the parties stipulate that time be excluded
 8 pursuant to 18 U.S.C. § 3161(h)(7)(F) and Local Code T4, to give
 9 the defendants time to further review the discovery and to
10 adequately prepare.
11
12 IT IS SO STIPULATED.
13                                           BENJAMIN B. WAGNER
                                             United States Attorney
14
     Dated: June 22, 2011                    By: /s/ Michael M. Beckwith
15                                           MICHAEL M. BECKWITH
                                             Assistant U.S. Attorney
16                                           Attorney for Plaintiff
17
18 DATED: June 22, 2011                      By: /s/ Zenia Gilg
                                             ZENIA GILG
19                                           Attorney for Defendant
                                             PATRICIA JANE ALBRIGHT
20
21 DATED: June 22, 2011                      By: /s/ Carrie Kostiner
                                             CARRIE KOSTINER
22                                           Attorney for Defendant
                                             JORDAN ROBERT WIRTZ
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 1                                   ORDER
 2      For the reasons stated above, the status conference in case
 3 number CR. S-2:11-0226 LKK, currently set for June 28, 2011, is
 4 continued to July 26, 2011; and the time beginning June 28, 2011,
 5 and extending through July 26, 2011, is excluded from the
 6 calculation of time under the Speedy Trial Act for effective
 7 defense preparation.    The Court finds that interests of justice
 8 served by granting this continuance outweigh the best interests
 9 of the public and the defendants in a speedy trial.          18 U.S.C. §
10 3161(h)(7)and Local Code T4.
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12
13 IT IS SO ORDERED.
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15 DATED: June 24, 2011
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